                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA

              vs.

\(erif\~ <(((cST~n ~ \ e.v\"5                                               '
                                                               ORDER~OSURRENDER
                                                                                     I




The defendant in the above-entitled action having been sentenc~d to the custody of the
U.S. Bureau of Prisons and having requested in open court a postponement of the
commencement of the sentence heretofore imposed, it is now ORDERED:
                                                                            '        '



The defendant,   (lY\f\.<Th <S\ev\v0          , surrender to the U.        S. Bureau of Prisons by
reporting:

                                                           directed;--~
    - - to the U. S. Marshal's Office, Raleigh, NC,_ ·13s ·.--     .,           ~



   ·       to the U.S. Marshal's Office, Raleigh, Nc,.:.o.ti·                    - : - --; ';
   X       to the designated institution on
        -~upon
                                               N. ~~-c.:                        114 /tJ
                    notification by the Court or the U.S. Marshal's Service to report.

       As a condition of the order, the defendant shall continue ~o report to the U.S.
       Probation Office as directed.                                                 1




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                                                         PJesidinq JudQe :
                                                 Judge W. Earl Britt, S!nior USlJistric~.N":>c.
                                                                                     i




I have received a copy of this order and agree to report as directed. I 8nderstand that if
I fail to report, I may be cited for Contempt of Court, and if convicted, may be punished
by imprisonment and/or fine or both in addition to the sentence imposed in my case.




                                                  ~~Counsel for the DSffurnt


         Case 5:17-cr-00091-BR Document 45 Filed 09/13/17 Page 1 of 1
